            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION

                              CIVIL NO. 1:05CR23


UNITED STATES OF AMERICA                    )
                                            )
                                            )
                    VS.                     )           ORDER
                                            )
                                            )
DEBORAH REID HENDRIX                        )
                                            )

      THIS MATTER is before the Court on the Defendant’s motion to

reduce her term of imprisonment due to “extraordinary and compelling

reasons” pursuant to “18 U.S.C. 3553(A) and (B).”1 The motion is denied.

      Defendant asks the Court to modify or otherwise reduce her term of

imprisonment to one of home confinement. However, the Court may not

“modify a term of imprisonment once it has been imposed except . . . upon

motion of the Director of the Bureau of Prisons [if the Court finds]

extraordinary and compelling reasons warrant such a reduction[.]” 18

U.S.C. § 3582(c)(1)(A). Because the Director has not moved on

Defendant’s behalf, the Court is without jurisdiction to modify her sentence.



      1
          The correct statute for this motion is 18 U.S.C. § 3582(c).


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     IT IS, THEREFORE, ORDERED that the Defendant’s motion to

reduce her sentence or otherwise modify her sentence is hereby DENIED.

                                   Signed: August 27, 2009




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